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SOUTHERN DISTRICT OF TEXAS s United States Courts
HOUSTON DIVISION owen Distt oF Tora
UNITED STATES OF AMERICA § AUG 06 2019
y : David J, Bradley, Clerk of Court
§
JEFFREY STERN § CRIMINAL NO. H-19-450
FREDERICK MORRIS §
LAMONT RATCLIFF §
DEBORAH BRADLEY § (UNDER SEAL)
RICHARD PLEZIA §
§
DEFENDANTS §

SUPERSEDING INDICTMENT

 

INTRODUCTION

At all times material to this indictment:

1. Personal injury law is an area of legal specialization. Personal injury
cases are civil lawsuits brought by plaintiffs seeking compensation for harm caused
by a defendant's actions. Once a plaintiff establishes liability of a defendant,
through either trial or settlement, the defendant, or commonly the defendant’s
insurance carrier, must pay the plaintiff for the injuries caused by the defendant's
actions. The cost of a plaintiff's injuries often includes the plaintiffs medical bills.
Normally, the defendant or the insurance carrier pays the plaintiff's attorney who
then distributes the funds from a trust account (the “IOLTA account”) to, among

others, the plaintiff, the medical providers, and himself and other attorneys for the
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legal fee. Personal injury cases involving automobile accidents are potentially
more lucrative if the accident involved a commercial vehicle (a “commercial case”)
rather than a personal vehicle because of differences in insurance coverage.

2. Barratry, commonly known as “ambulance chasing,” is the practice of
illegally soliciting clients who may be in need of a lawyer. Generally, attorneys in
Texas may not personally solicit employment with potential clients who have not
invited the contact. See Texas Penal Code § 38.12(a)(2); Texas Disciplinary Rule
of Professional Conduct 7.03(a). In Texas, barratry is both a crime and a violation
of the ethics rules that govern the practice of law. Attorneys in Texas have been
prosecuted for barratry, and the State Bar of Texas, the organization that issues and
administers the rules governing the conduct of attorneys licensed to practice law in
Texas, seeks to prevent barratry through attorney disciplinary actions, education, and
outreach.

3. Attorneys who commit barratry often do so indirectly by paying a “case
runner.” A “case runner” or “runner” is a non-attorney who collects an illegal fee
(a kickback) for referring clients to attorneys. Under Texas law, it is illegal to pay
non-attorneys, such as case runners, for client referrals. See Texas Penal Code §
38.12(a)(4). Such payments also violate the ethics rules of the State Bar of Texas.
See Texas Disciplinary Rule of Professional Conduct 7.03(b). Under the ethics
rules, attorneys are also not permitted to split their fees with non-attorneys. See

Texas Disciplinary Rule of Professional Conduct 5.04(a). Under limited

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circumstances, an attorney may split a fee with a referring attorney. See Texas

Disciplinary Rule of Professional Conduct 1.04(f).

4.

The Internal Revenue Service (“IRS”) is an agency of the United States

Department of the Treasury responsible for administering and enforcing the tax laws

of the United States. Under these laws, individuals and corporations are required

to accurately report income and deductions to the IRS on annual income tax returns

in order for the IRS to carry out its lawful function to ascertain income; compute,

assess and collect income taxes; and audit tax returns and records. Commonly used

IRS forms include the following:

Form 1040: individual tax return;

Form 1120 or 1120S: corporate tax return;

Form 656: application for an Offer in Compromise, an agreement
between the taxpayer and the IRS that settles the taxpayer’s tax
liabilities for less than the full amount owed;

Form 1099: form disclosing Miscellaneous Income that is required to
be sent to the IRS and the payee for payments above a certain amount
made for contract labor;

Form 4549: form containing Income Tax Examination Changes, which
lists the IRS’s proposed changes to a tax return as a result of an IRS

civil audit, including any penalties.
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5. The federal tax code allows businesses to claim a tax deduction for
“ordinary and necessary” expenses incurred in conducting the business. However,
no deduction is allowed for kickbacks or other payments that are illegal under state
law if that state law is generally enforced. See 26 U.S.C. § 162(c). Under the tax
code, “a kickback includes a payment in consideration of the referral of a client,
patient, or customer.” Jd. Illegal kickbacks made in a barratry scheme in
violation of Texas law are not deductible business expenses.

6. Financial institutions, including banks, are required to file a Currency
Transaction Report (“CTR”) with the federal government for cash transactions made
by their clients above $10,000.

7. Defendant JEFFREY STERN (“STERN”) was an attorney in Houston,
Texas who practiced personal injury law. STERN’s law firm was known at various
times as Stern, Miller & Higdon, Jeffrey M. Stern, Attorney at Law, or the Stern
Law Group.

8. Defendant FREDERICK MORRIS (“MORRIS”) was a case runner in
Houston.

9. Defendant LAMONT RATCLIFF (“RATCLIFF”) was a case runner
and clinic owner in Houston.

10. Marcus Esquivel (“Esquivel”), who has been charged separately, was
a case runner in Houston. Esquivel operated as Le Reve Advertising Consultants

d/b/a American Risk Management Consultants, Belmark International Inc.,

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Injurylawyerforme.com, Horizon Advertising, Resource Medical Consultant, and
American Business Risk Management.

11. Defendant DEBORAH BRADLEY (“BRADLEY”) was an attorney in
Houston who worked for the STERN law firm and practiced personal injury law.

12. Defendant RICHARD PLEZIA (“PLEZIA”) was an attorney in
Houston who practiced personal injury law.

13. Company | was a healthcare clinic in Houston that provided treatment
for accident victims and was owned and operated by MORRIS’ wife.

14. Company 2 was a healthcare clinic in Houston that provided treatment
for accident victims. RATCLIFF controlled and was the majority owner of
Company 2.

15. Attorney 1 was an attorney in Houston who practiced personal injury
law.

16. Attorney 2 was an attorney in Houston who practiced criminal law.

17. Attorney 3 was an attorney in Houston who practiced criminal law.

COUNT ONE
(Conspiracy to Defraud the United States -
18 U.S.C. § 371)

A. INTRODUCTION
18. The Grand Jury adopts, realleges, and incorporates herein the

Introduction section of the Indictment as if set out fully herein.
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B. THE CONSPIRACY AND ITS OBJECTS
19. From in or about 2006, and continuing through the date of the

Superseding Indictment, in the Houston Division of the Southern District of Texas

and elsewhere, the Defendants,

JEFFREY STERN,
FREDERICK MORRIS,
LAMONT RATCLIFF,
DEBORAH BRADLEY, and
RICHARD PLEZIA,

did unlawfully, voluntarily, intentionally, and knowingly combine, conspire,
confederate and agree together, with each other and with others known and unknown
to the Grand Jury, to defraud the United States for the purpose of impeding,
impairing, obstructing, and defeating the lawful government functions of the IRS in
the ascertainment, computation, assessment and collection of revenue, to wit,

individual and corporate income taxes.

C. PURPOSE OF THE CONSPIRACY

20. STERN and his coconspirators sought to enrich themselves by illegally
recruiting clients through the payment and receipt of illegal kickbacks in order to
generate personal injury cases and legal fees. They worked to conceal and disguise
the illegal kickback payments from the IRS, and to hide their resulting income from
the IRS, by filing false documents with the IRS, including tax returns, Forms 1099,
and an Offer in Compromise, that falsely reported material information, including

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amounts of income, expenses, and tax due and owing.
D. MANNER AND MEANS OF THE CONSPIRACY

It was a part of the conspiracy that:

The Scheme

21. For over ten years, defendant JEFFREY STERN and his coconspirators
have engaged in a criminal scheme to evade taxes and, in the process, hide the fact
that they obtain their personal injury cases through barratry by paying illegal
kickbacks to case runners.

22. As part of the scheme, STERN hid business income from his tax
preparer and the IRS by depositing business income to personal accounts and by
cashing business checks with check cashers and not transferring those funds to his
business account. STERN only reported to his tax preparer and the IRS the income
that was deposited into his business account.

23.  Inaddition, STERN took improper deductions on his tax returns for his
illegal kickback payments to case runners. Both hiding income and taking illegal
deductions resulted in the filing of false tax documents that under-reported to the
IRS tax that was due.

Kickbacks Disguised as Referral Fees

24. STERN paid kickbacks to runners MORRIS, RATCLIFF, Esquivel,
healthcare clinic owners, and others in exchange for referrals of personal injury cases
to STERN’s law firm. Typically, the kickback was a flat fee paid up-front, with a

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larger fee paid on commercial cases. In addition, STERN shared a percentage of
his attorney’s fee with some runners after the case settled.

25. Beginning in approximately 2006, STERN sought to disguise his illegal
kickback payments to runners as legitimate referral fee payments to attorneys.
STERN told defendant FREDERICK MORRIS that if MORRIS wanted to continue
to receive kickbacks, MORRIS would have to come up with the name of an attorney
in whose name STERN could issue checks. In that way, STERN could hide the
payments to MORRIS as seemingly legitimate referral fees paid to an attorney, and
STERN could thereby deduct the illegal kickbacks on his tax returns as supposedly
legitimate business expenses.

26. MORRIS suggested they use Attorney 1. STERN began paying
kickbacks to MORRIS by writing checks payable in the name of Attorney 1, who
agreed to allow STERN and MORRIS to use his name as the payee on the checks.

27. Later, STERN also started issuing checks in the names of Attorney 2
and Attorney 3 in order to pay kickbacks to MORRIS and others. Unlike Attorney
1, Attorney 2 and Attorney 3 knew nothing of the scheme and had not consented to
their names being used in order to pay illegal kickbacks.

28. MORRIS took the checks from STERN that were made payable in the
names of the three attorneys to check cashers where MORRIS cashed the checks,
usually with forged endorsements. MORRIS kept a portion of the cash for himself

and paid the rest to his sources who had referred cases to him for STERN, which

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MORRIS often did by leaving envelopes of cash with the check cashers for his
sources to pick up.

29. MORRIS caused his illegally obtained funds to be deposited into bank
accounts in a manner that was designed to avoid triggering bank CTR reporting
requirements by making multiple cash deposits on the same or consecutive days at
different bank branches in Houston below the $10,000 threshold.

30. In 2008, 2009, and 2010, STERN issued no Forms 1099 to Attorney 1,
Attorney 2, or Attorney 3 for the checks made out in their names, which would have
notified Attorney 2 and Attorney 3 of the scheme and would have notified the IRS
that all three attorneys had allegedly received income from STERN and potentially
owed taxes on that income.

Scheme Modified in Response to IRS Civil Audits

31. Beginning in 2010, the IRS conducted a series of civil audits of
STERN. On approximately May 17, 2010, the IRS notified STERN that he was
being audited. Also in 2010, the IRS notified STERN’s representative that STERN
was hiding income in personal accounts and was failing to issue Forms 1099, In
response, STERN paid penalties to forestall further IRS civil inquiry of his tax
avoidance scheme, and he modified the scheme to work around the audit findings
and further conceal it from the IRS.

32. The IRS assessed a civil fraud penalty on STERN for hiding business
income in personal accounts. STERN agreed to and paid the fraud penalty. For

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a time, STERN stopped hiding income from the IRS, but later resumed.

33. The IRS assessed employment taxes for STERN failing to issue Forms
1099. STERN paid the taxes and ceased writing checks payable to Attorney 2 and
Attorney 3, to whom he could not issue Forms 1099 since they were not aware of
the scheme. Instead, STERN increased the number of checks he issued payable to
Attorney 1, and he filed false Forms 1099 that falsely reported to the IRS that
STERN had paid Attorney | for services. In fact, MORRIS and others had received
most of the funds.

34. Asaresult of issuing false Forms 1099 to the IRS indicating payment
to Attorney 1, STERN and MORRIS caused false tax returns to be prepared and filed
for Attorney | that reported as income to Attorney | the illegal kickbacks STERN
had paid to MORRIS and others. These returns also reported false expenses.
STERN and MORRIS agreed to pay Attorney 1’s falsely inflated taxes.
Ultimately, to try to resolve Attorney 1’s mounting tax debt, STERN and MORRIS
caused a false Offer in Comprise to be prepared and filed with the IRS that continued
to claim Attorney 1 owed taxes on the inflated income falsely reported in his prior
returms.

35. At various times during the conspiracy, STERN provided funds to
Attorney 1 to pay for his falsely inflated taxes. Occasionally, STERN issued
checks to Attorney | that Attorney | deposited into his account. More often,

STERN issued checks in the name of Attorney | or in another name, which MORRIS

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cashed at a check casher. MORRIS would then deliver the cash to Attorney 1.
Scheme Diversified

36. After the civil audits, STERN diversified the ways he paid kickbacks
to his runners that would both satisfy the Form 1099 filing requirement and generate
false deductible business expenses for STERN.

37. In2011 and at other times, STERN issued checks payable to Company
1, MORRIS’ wife’s company, with a corresponding Form 1099, allegedly for
healthcare services. In reality, those payments were illegal kickbacks to MORRIS
and others. MORRIS cashed the checks at a check casher, paid a portion of the
cash to himself, and paid the rest to his sources who had referred him cases for
STERN. STERN caused a false 2011 tax return to be filed with the IRS that falsely
deducted those checks to Company | as legitimate “healthcare expenses,” when in
reality they were illegal, non-deductible kickbacks. Similarly, MORRIS caused a
false 2011 tax return to be filed for Company 1 that falsely reported the illegal
kickbacks he received from STERN as legitimate income to Company 1, and offset
that income with false expenses.

38. STERN also hid payments to MORRIS by issuing checks in the name
of STERN law firm clients. In June of 2017, the IRS served a notice of lien on
STERN, indicating any checks written by STERN to Attorney 1 would be subject to
levy by the IRS in order to pay Attorney 1|’s overdue tax liability. While the lien

was in place and at other times, STERN paid MORRIS and others kickbacks by

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writing checks in the name of STERN clients, which MORRIS would cash at a check

casher and use the funds to pay kickbacks owed to himself and others. Once

STERN confirmed the lien was removed, he resumed paying kickbacks to MORRIS

and others by issuing checks in the name of Attorney | that MORRIS would cash.
Kickback Payments Funneled to RATCLIFF

39. In 2010, after learning of the IRS civil audits, STERN began funneling
kickbacks to a second case runner, defendant LAMONT RATCLIFF, through an
intermediary attorney, defendant DEBORAH BRADLEY. STERN issued checks
payable to attorney BRADLEY with corresponding Forms 1099; BRADLEY
deposited the checks; and, often on the same day and in the same amount, issued
checks to RATCLIFF’s company, Company 2. BRADLEY issued a Form 1099 at
the end of each year reflecting her payments to Company 2. On his tax returns,
STERN caused the kickback payments to be falsely classified as referral fees to an
attorney and falsely deducted as business expenses. BRADLEY falsely reported
the payments from STERN as income on her tax returns with corresponding false
deductions for contract labor expenses.

40. RATCLIFF failed to pay taxes on a portion of the kickbacks from
STERN, kickbacks from other attorneys, and other income Company 2 received.
From approximately 2010 through 2014, RATCLIFF cashed checks representing
Company 2 business income at check cashers and caused the income on Company

2’s tax returns to be under-reported.

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Kickback Payments Funneled to Esquivel

41. After learning of the IRS civil audits in 2010, STERN altered his
method of paying kickbacks to a third runner, Marcus Esquivel. Before 2010,
STERN paid illegal kickbacks to Esquivel in cash, and then later disguised his
kickbacks to Esquivel as checks written for alleged payments for advertising, which
he made to Esquivel’s various business entities.

42. In 2010 during the audits, Esquivel and STERN suspended their
barratry scheme. Esquivel began referring cases to defendant attorney RICHARD
PLEZIA instead of STERN. PLEZIA, like STERN, paid Esquivel illegal
kickbacks for case referrals. PLEZIA caused the filing of false tax returns that
falsely reported the kickbacks as legitimate advertising expenses, which he falsely
deducted as business expenses.

43. In 2011, Esquivel and STERN resumed their illegal kickback
arrangement in a modified form. Because of the IRS civil audits, STERN now paid
Esquivel through an intermediary attorney. STERN and Esquivel funneled the
kickback payments through attorney PLEZIA. From approximately 2011 through
2013, STERN issued checks payable to PLEZIA’s law firm with corresponding
Forms 1099; PLEZIJA deposited the checks to his business bank account; and, often
on the same day and in the same amount, PLEZIA issued checks to one of Esquivel’s
companies. STERN caused false tax returns to be filed in which he falsely

deducted those payments as referral fees to an attorney, when in reality they were

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illegal kickbacks to Esquivel.
Obstruction and Cover-Up

44. On December 1, 2015, a federal grand jury began investigating and
seeking evidence regarding STERN’s activities. Once STERN learned of the
federal grand jury investigation in 2016, he tried to obstruct the investigation and
took steps to conceal the scheme. STERN ordered coconspirators to destroy
subpoenaed documents. At meetings with coconspirators, he directed them not to
cooperate in the investigation. He also caused additional false tax documents to be
filed with the IRS on behalf of Attorney 1. He continued to make payments to the
IRS on both Attorney 1’s inflated and legitimate tax debt, in an attempt to keep the
scheme from unraveling and being exposed to the IRS.
D. ACTS IN FURTHERANCE OF THE CONSPIRACY

45. In furtherance of the conspiracy, and to effect the objects of the
conspiracy, the following acts, among others, were committed in the Southern
District of Texas and elsewhere.

Kickbacks—STERN/Attorneys 1, 2, 3/MORRIS

46. In or about 2006, STERN issued checks in the name of Attorney | in
order to pay MORRIS and others illegal kickbacks for case referrals.

47. By at least December 31, 2008, STERN issued checks in the name of
Attorney 2 in order to pay MORRIS and others illegal kickbacks for case referrals.

48. By at least December 22, 2009, STERN issued checks in the name of

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Attorney 3 in order to pay MORRIS and others illegal kickbacks for case referrals.

49. During 2009, STERN issued checks payable to Attorney 1 totaling
approximately $7,500 in order to pay MORRIS and others illegal kickbacks for case
referrals.

50. During 2009, STERN issued checks payable to Attorney 2 totaling
approximately $1,060,000 in order to pay MORRIS and others illegal kickbacks for
case referrals.

51. During 2009, STERN issued checks payable to Attorney 3 totaling
approximately $19,800 in order to pay MORRIS and others illegal kickbacks for
case referrals.

52. During 2010, STERN issued checks payable to Attorney 1 totaling
approximately $483,485 in order to pay MORRIS and others illegal kickbacks for
case referrals.

53. During 2010, STERN issued checks payable to Attorney 2 totaling
approximately $378,240 in order to pay MORRIS and others illegal kickbacks for
case referrals.

54. During 2010, STERN issued checks payable to Attorney 3 totaling
approximately $215,550 in order to pay MORRIS and others illegal kickbacks for

case referrals.

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Civil Audit Payments

55. On or about June 14, 2011, Stern signed IRS Form 4549, Income Tax
Examination Changes, and consented to assessment and collection of $1,111,937.72
by the IRS that included back taxes and interest and a fraud penalty of $341,348.25
for his conduct of intentionally underreporting business receipts by depositing the
amounts in his personal bank account.

56. On or about June 14, 2012, STERN agreed to pay withholding tax of
$49,866.82 for his misconduct of failing to issue Forms 1099 for tax year 2008.
STERN agreed to pay additional withholding tax for his failure to issue Forms 1099
for tax years 2009 and 2010, which prevented the employment tax audit from being
expanded to those tax years.

STERN/MORRIS Kickback Scheme Modified in Response to Audits

57. Onor about May 27, 2010, shortly after having learned of the IRS civil
audits on May 17, 2010, STERN caused the last alleged referral fee check to issue
in the name of Attorney 3.

58. Onor about December 16, 2010, STERN issued the last alleged referral
fee check in the name of Attorney 2.

59. In or about 2012, STERN called a meeting with MORRIS and Attorney
1. STERN proposed that Attorney | falsely claim as income on Attorney 1’s tax
returns the supposed referral fees that had allegedly been paid to all three attorneys,

but in reality had been paid as kickbacks to MORRIS and others.

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60. STERN caused a false Form 1099 to be filed for $456,771 in alleged
referral fee payments made to Attorney 1 in 2011, which was received by the IRS
on or before June 8, 2012.

61. STERN caused a false Form 1099 to be filed for $613,654 in alleged
referral fee payments made to Attorney 1 in 2012, which was received by the IRS
on or before June 6, 2013.

62. STERN caused a false Form 1099 to be filed for $1,539,451 in alleged
referral fee payments made to Attorney | in 2013, which was received by the IRS
on or before July 3, 2014.

63. On or about November 5, 2014, STERN issued a check to Attorney |
for $50,000 in partial payment of Attorney 1’s falsely reported taxes due.

64. On or about November 7, 2014, STERN issued a check to Attorney 1
for $35,000 in partial payment of Attorney 1’s falsely reported taxes due.

65. On or about November 10, 2014, STERN and MORRIS caused
Attorney | to file a false 2009 Form 1040 tax return with the IRS that falsely reported
income, which was earned by MORRIS and others, as income to Attorney 1, and
reported false expenses.

66. On or about November 10, 2014, STERN and MORRIS caused
Attorney 1 to file a false 2010 Form 1040 tax return with the IRS that falsely reported
income, which was earned by MORRIS and others, as income to Attorney 1, and
reported false expenses.

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67. On or about November 10, 2014, Attorney 1 made a $15,000 payment
to the IRS for taxes due, based on the false tax returns.

68. Onor about November 10, 2014, Attorney 1 made a $50,000 payment
to the IRS for taxes due, based on the false tax returns.

69. On or about November 10, 2014, Attorney 1 made two separate
$10,000 payments to the IRS for taxes due, based on the false tax returns.

70. STERN caused a false Form 1099 to be filed for $1,607,896 in alleged
referral fee payments made to Attorney 1 in 2014, which was received by the IRS
on or before June 12, 2015.

71. STERN caused a false Form 1099 to be filed for $1,494,133 in alleged
referral fee payments made to Attorney 1 in 2015, which was received by the IRS
on or before June 16, 2016.

72. On or about February 24, 2015, STERN issued a check to Attorney 1
for $20,125 in partial payment of Attorney 1’s falsely reported taxes due.

73. On or about February 26, 2015, STERN issued a check to Attorney 1
for $25,000 in partial payment of Attorney 1’s falsely reported taxes due.

74. Onor about February 26, 2015, Attorney 1 purchased a cashier’s check
for $50,000 that was used to pay the IRS on or about March 2, 2015 for taxes due,
based on the false tax returns.

75. From approximately 2006 to 2019, STERN maintained a ledger that

tracked the illegal kickbacks he owed on certain cases. STERN provided to copy

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of this ledger to MORRIS.

76. From in or about 2006 through in or about 2019, MORRIS delivered to
STERN written requests for kickback checks that listed the kickbacks STERN owed
to MORRIS and others by case name and case number.

77. In or about 2016, when STERN was out of town, MORRIS delivered
in person, and sent by text message, requests for kickback checks to STERN’s office
manager. The requests listed the kickbacks STERN owed by case name and case
number.

78. In or about 2016, in response to requests from MORRIS for kickback
checks, STERN’s office manager confirmed with STERN that the requested checks
should issue.

79. In or about 2016, MORRIS texted STERN’s office manager photos of
accident scenes, accident victims, and wrecked cars related to clients MORRIS was
recruiting for the STERN law firm.

80. On or about April 28, 2016, MORRIS texted STERN’s office manager
a written request for a kickback check for $15,500 in order to pay kickbacks in six
different STERN law firm cases that MORRIS listed by case name and number.

81. On or about April 28, 2016, STERN caused a kickback check to issue
in the name of Attorney 1 for $15,500, which MORRIS cashed at a check casher.

82. On or about May 25, 2016, MORRIS texted STERN’s office manager

a photo of a handwritten request for a kickback check for $12,500 made out to

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Attorney | in order to pay kickbacks in five different STERN law firm cases that
MORRIS listed by case name and number.

83. On or about May 25, 2016, STERN caused a kickback check to issue
in the name of Attorney | for $12,500, which MORRIS cashed at a check casher.

84. Onor about November 4, 2016, STERN and MORRIS caused Attorney
1 to file a false 2011 Form 1040 tax return that falsely reported income, which was
earned by MORRIS and others, as income to Attorney 1, and reported false
expenses.

85. Onor about November 7, 2016, STERN and MORRIS caused Attorney
1 to file a false 2012 Form 1040 tax return that falsely reported income, which was
earned by MORRIS and others, as income to Attorney 1, and reported false
expenses.

86. On or about November 11, 2016, STERN and MORRIS caused
Attorney | to file a false 2013 Form 1040 tax return that falsely reported income,
which was earned by MORRIS and others, as income to Attorney 1, and reported
false expenses.

87. On or about November 11, 2016, STERN and MORRIS caused
Attorney 1 to file a false 2014 Form 1040 tax return that falsely reported income,
which was earned by MORRIS and others, as income to Attorney 1 and reported
false expenses.

88. On or about November 11, 2016, STERN and MORRIS caused

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Attorney | to file a false 2015 Form 1040 tax return that falsely reported income,
which was earned by MORRIS and others, as income to Attorney 1, and reported
false expenses.

89. On or about December 1, 2016, STERN issued a check to Attorney 1
for $50,000 in partial payment of Attorney 1’s falsely reported taxes due, which
Attorney | deposited.

90. On or about December 1, 2016, STERN issued a check to Attorney 1
for $10,000 in partial payment of Attorney 1’s falsely reported taxes due, which
Attorney | deposited.

91. Onor about December 5, 2016, Attorney 1 made a $60,000 payment to
the IRS for taxes due, based on the false tax returns.

92. Onor about March 15, 2017, STERN issued a check to Attorney 1 for
$84,542.67 in partial payment of Attorney 1’s falsely reported taxes due, which
Attorney 1 deposited.

93. On or about May 11, 2017, Attorney | made a $75,000 payment to the
IRS for taxes due, based on the false tax returns.

94. In or about June of 2017, STERN, MORRIS, and Attorney | met and
agreed to file a false Offer in Compromise with the IRS to try to resolve Attorney
1’s falsely reported tax debt.

95. STERN caused a false Form 1099 to be filed for $1,351,636 in alleged
referral fee payments made to Attorney | in 2016, which was received by the IRS

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on or before June 1, 2017.

96. On or about June 7, 2017, STERN issued a check to Attorney 1| for
$60,000 for partial payment of the Offer in Compromise, which Attorney | deposited
on June 9, 2017.

97. Onor about June 9, 2017, Attorney 1 wrote a $54,000 check to the IRS
for partial payment of the Offer in Compromise, a copy of which was provided to a
tax preparer, but was not sent to the IRS, which in the meantime had levied Attorney
1’s account for the funds.

98. On or about June 9, 2017, STERN and MORRIS caused Attorney | to
sign the Offer in Compromise with the IRS that reported Attorney 1 owed the taxes
falsely reported in his prior returns.

99. On or about June 17, 2017, the IRS served a notice of lien on STERN
in an effort to collect the outstanding taxes due that were falsely reported by Attorney
1’s tax returns. As a result, to pay illegal kickbacks, STERN temporarily ceased
issuing checks in the name of Attorney 1 and instead issued checks in the names of
STERN law firm clients, which MORRIS cashed at a check casher.

100. After STERN confirmed the lien had been removed, he resumed paying
MORRIS and others kickbacks by issuing checks in the name of Attorney 1, which
MORRIS cashed at a check casher.

101. On or about June 30, 2017, in order to make a down payment on the

Offer in Compromise, STERN signed a check for $54,000 payable to Frost Bank

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and used the proceeds of that check to purchase a cashier’s check for $54,000 made
payable to the IRS with the notation, “Re: [Attorney 1].”

102. On or about June 30, 2017, in order to pay the filing fee of the Offer in
Compromise, STERN purchased a cashier’s check for $184.00 made payable to the
IRS with the notation, “Re: [Attorney 1].”

103. On or about June 30, 2017, both cashier’s checks were redeposited to
the same STERN account from which the $54,000 was withdrawn, with the
endorsement, “Not used for purpose intended.”

104. On or about June 30, 2017, to make a partial payment on the Offer in
Compromise, STERN caused a check to issue in the name of a STERN law firm
client for $60,000, which was cashed at a check casher.

105. On or about July 7, 2017, Attorney 1 sent the Offer in Compromise to
the IRS.

106. On or about July 7, 2017, Attorney 1 made a $54,000 payment to the
IRS in partial payment of the Offer in Compromise.

107. STERN caused a false Form 1099 to be filed for $977,443 in alleged
referral fee payments made to Attorney 1 in 2017, which was received by the IRS
on or before July 19, 2018.

108. Onor about August 3, 2018, in a recorded meeting, Attorney 1 provided
MORRIS a purported demand letter that Attorney 1 had received from the IRS.
The letter demanded payment of $248,102.66 that Attorney 1 allegedly owed under

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the Offer in Compromise. MORRIS stated, “We’re going to pay this, [Attorney 1].
We going to pay this. I told you.” When Attorney 1 asked whether STERN
would help pay, MORRIS stated “he going to kind of help me a little bit, you know
what I’m trying to say, but mostly I’m going to be covering this right here.”
MORRIS added that STERN had paid him approximately $1 million dollars in 2017.
MORRIS told Attorney 1, “because of what you done, everything you helped me,
I’m not coming to you not asking you for one dime. . . . As soon as I get back, I’m
going to - - I’m going to rap with STERN Monday or Tuesday and we’re going to
work on this and we’re going to start working on getting this shit off of you.”

109. On or about August 16, 2018, MORRIS provided Attorney | a copy of
a false 2017 Form 1040 tax return for Attorney | that STERN and MORRIS had
caused to be prepared.

110. On or about August 17, 2018, in a recorded call, Attorney 1 stated, “I
might need to put on something with you and STERN. This might - - this might be
the last - - the last year we do, you know, STERN uses me to pay you, man. You
know, because this stuff is just getting to be too much a headache, man.” MORRIS
replied, “Yeah, yeah.” Attorney 1 stated, “You need to talk to him [STERN] about
that, and see if you all can come up with another way.” MORRIS replied in part,
“T will bring that up to him.”

111. On or about August 23, 2018, in a recorded call with Attorney 1,
MORRIS confirmed that he filed Attorney 1’s 2017 tax return, stating, “Yeah, it’s

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all done. It’s a done deal. Yeah, we looking good. They’re going to be writing
you a letter. As soon as you get that letter, you bring it to me, and then . . . they’re
going to start the - - that Offer in Compromise.” Discussing payment of the taxes
Attorney | owed, MORRIS stated, “And then I already talked with STERN. I just
told him I’m about to come down with about $50,000 or something like that, but,
you know, we ready.” Attorney 1 asked, “So you think STERN is going to come
through this time?” MORRIS responded, “Yeah.”

112. On or about August 24, 2018, STERN and MORRIS caused a false
2017 Form 1040 tax return to be filed with the IRS on behalf of Attorney 1 that
falsely reported income, which was earned by MORRIS and others, as income to
Attorney 1, and reported false expenses.

113. On or about November 2, 2018, in a recorded meeting, Attorney 1
provided MORRIS with a purported demand letter from the IRS requiring payment
of Attorney 1’s 2017 taxes due and owing in the amount of $19,188.07. MORRIS
made a copy of the letter, and drove directly to STERN’s office.

114. On or about November 6, 2018, to pay Attorney 1’s falsely reported
taxes owed for 2017, STERN issued a check for $30,000 payable to Attorney 1,
which MORRIS cashed at the check casher on November 8, 2018.

115. Later that same day, on November 8, 2018, in a recorded meeting
between MORRIS and Attorney | at Chase Bank in Houston, MORRIS provided

Attorney | with $20,000 in cash, which Attorney 1 used to buy a cashier’s check for

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$19,483.07 made payable to the U.S. Treasury, which was received by the IRS on
November 15, 2018.

116. STERN caused a false Form 1099 to be filed with the IRS that reported
$1,099,666 in alleged payments made to Attorney 1 in 2018, which was received by
the IRS on or before April 22, 2019.

Kickbacks—STERN/Company 1/MORRIS

117. From on or about July 7, 2011, until on or about November 17, 2011,
STERN issued a series of checks totaling $308,450, among others, to Company 1 in
payment of illegal kickbacks to MORRIS and others for case referrals. MORRIS
cashed the checks at a check casher and kept a portion of the funds as his kickbacks
eared and paid a portion of the money to his sources who had referred cases to him
for STERN.

118. In or about 2011, STERN caused the $308,450 in checks to Company
| that were in reality kickbacks to MORRIS to be classified as a business expense,
specifically, “Office Expense” in his business books and records.

119. In 2012, after meeting with his accountant who questioned the clearly
incorrect classification, STERN changed the business’s books and records to report
the $308,450 in checks as “Medical Expense,” still a deductible expense for the
business.

120. STERN caused a false Form 1099 to issue to Company 1 that included

the $308,450 in checks to Company 1, which was received by the IRS on or before

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June 8, 2012.

121. On or about September 21, 2012, MORRIS caused his wife to file a
false 2011 Form 1120S tax return for Company 1 that falsely reported the $308,450
in checks from STERN as income to Company | and that offset that false income by
reporting false expenses of $265,677, labeled as “outside services.”

Kickbacks—STERN/PLEZIA/Esquivel

122. Beginning in at least 2006, STERN paid Esquivel illegal kickbacks for
case referrals in cash.

123. In or about 2007, STERN paid illegal kickbacks to Esquivel for case
referrals by issuing checks payable to Esquivel’s business entities.

124. In or about 2009, to pay Esquivel illegal kickbacks, STERN issued
checks payable to American Business Risk Management, totaling approximately
$31,564.95.

125. In or about 2009, to pay Esquivel illegal kickbacks, STERN issued
checks payable to Belmark International, totaling approximately $60,000.

126. In or about 2009, to pay Esquivel illegal kickbacks, STERN issued
checks payable to Horizon Advertising, totaling approximately $49,781.

127. In or about 2009, to pay Esquivel illegal kickbacks, STERN issued
checks payable to LaReve Advertising, totaling approximately $38,500.

128. On or about May 6, 2009, to pay Esquivel illegal kickbacks, STERN

issued checks payable to Resource Medical Consultant for approximately $20,000.

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129. On or about April 28, 2010, to pay Esquivel illegal kickbacks, STERN
issued checks payable to American Business Risk Management for $9,800.

130. In or about May of 2010, Esquivel temporarily stopped his barratry
scheme with STERN and instead began referring cases to PLEZIA in exchange for
illegal kickbacks.

131. From in or about 2010 to in or about 2013, Esquivel maintained ledgers
that tracked the illegal kickbacks owed to him by STERN, PLEZIA, and others, for
specific case referrals.

132. In or about 2011, Esquivel resumed the illegal kickback arrangement
with STERN; however, STERN and Esquivel agreed that the kickbacks to Esquivel
would now be concealed by funneling the payments through PLEZIA’s account.

133. In or about 2011, PLEZIA funneled through his account approximately
$176,000 in illegal kickbacks from STERN to Esquivel.

134. On or about September 10, 2012, PLEZIA caused a false 2011 Form
1120S tax return to be filed with the IRS that falsely reported the illegal kickbacks
he had paid to Esquivel for case running as deductible business expenses in the form
of alleged advertising expenses.

135. In or about 2012, PLEZIJA funneled through his account approximately
$188,000 in kickbacks from STERN to Esquivel.

136. In or about 2013, STERN paid Esquivel kickbacks through PLEZIA’s

account and provided Esquivel with a loan, which together totaled approximately

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$143,000.
Kickbacks—STERN/BRADLEY/RATCLIFF

137. In or about 2012, BRADLEY funneled through her account
approximately $128,060 in illegal kickbacks from STERN to RATCLIFF.

138. In or about 2012, RATCLIFF negotiated at a check casher checks
payable to Company 2 from BRADLEY and others.

139. In or about 2013, BRADLEY funneled through her account
approximately $102,505 in kickbacks from STERN to RATCLIFF.

140. In or about 2013, RATCLIFF negotiated at a check casher checks
payable to Company 2 from BRADLEY and others.

141. On or about August 26, 2013, RATCLIFF caused a false 2012 Form
1120 tax return for Company 2 to be filed with the IRS that under-reported income
to Company 2.

142. In or about 2014, BRADLEY funneled through her account
approximately $72,990 in kickbacks from STERN to RATCLIFF.

143. In or about 2014, RATCLIFF negotiated at a check casher checks
payable to Company 2 from BRADLEY and others.

144. On or about June 23, 2014, RATCLIFF caused a false 2013 Form
1120 tax return for Company 2 to be filed with the IRS that under-reported income
to Company 2.

145. On or about November 3, 2014, BRADLEY caused a false 2012 Form

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1040 tax return to be filed with the IRS that falsely reported the kickbacks from
STERN to RATCLIFF as income to her and offset that income with false expenses
for “contract labor.”

146. On or about November 3, 2014, BRADLEY caused a false 2013 Form
1040 tax return to be filed with the IRS that falsely reported the kickbacks from
STERN to RATCLIFF as income to her and offset that income with false expenses
for “contract labor.”

147. On or about February 11, 2015, BRADLEY caused a false 2014 Form
1040 tax return to be filed with the IRS that falsely reported the kickbacks from
STERN to RATCLIFF as income to her and offset that income with false expenses
for “contract labor.”

148. On or about June 17, 2015, RATCLIFF caused a false 2014 Form
1120 tax return for Company 2 to be filed with the IRS that under-reported income
to Company 2.

149. In or about 2015, BRADLEY funneled through her account
approximately $26,400 in kickbacks from STERN to RATCLIFF.

150. On or about March 10, 2016, BRADLEY caused a false 2015 Form
1040 tax return to be filed with the IRS that falsely reported the kickbacks from
STERN to RATCLIFF as income to her and offset that income with false expenses

for “contract labor.”

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Hiding Income

151. In or about 2007, STERN deposited approximately $873,700 in
business income to personal accounts and failed to report that income to the IRS in
his tax return.

152. In or about 2008, STERN deposited approximately $326,487 in
business income to personal accounts and failed to report that income to the IRS in
his tax return.

153. In or about 2009, STERN negotiated at check cashers approximately
$188,431 in checks to the Stern law firm and failed to report that income to the IRS
in his tax return.

154. In or about 2010, STERN negotiated at check cashers approximately
$24,294 in checks to the Stern law firm and failed to report that income to the IRS
in his tax return.

155. On or about May 6, 2013, STERN negotiated at a check casher a
check for $26,585 in attorney’s fees received from a collection agency and failed
to report that income to the IRS in his tax return.

STERN Form 1040 Tax Returns

156. On or about October 12, 2012, STERN caused a false 2011 Form 1040
tax return to be filed with the IRS that falsely reported as expenses kickback

payments, which he falsely disguised as “referral fees” and “medical expenses.”

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157. On or about June 27, 2013, STERN caused a false 2012 Form 1040 tax
return to be filed with the IRS that falsely reported kickback payments and a personal
loan as “referral fee expenses” and an alleged “advertising expense” of $30,000.

158. On or about August 14, 2014, STERN caused a false 2013 Form 1040
tax return to be filed with the IRS that falsely reported kickback payments and a
personal loan as “referral fee expenses,” and failed to report business checks that
were cashed at a check casher.

159. On or about October 14, 2015, STERN caused a false 2014 Form 1040
tax return to be filed with the IRS that falsely reported kickback payments as
“referral fee expenses.”

160. On or about July 19, 2016, STERN caused a false 2015 Form 1040 tax
return to be filed with the IRS that falsely reported kickback payments as “referral
fee expenses.”

Obstruction and Concealment

161. In or about 2016, after learning of the federal grand jury investigation,
STERN instructed MORRIS not to cooperate in the investigation. In addition,
STERN told MORRIS that, in order to communicate with STERN, MORRIS was to
obtain a prepaid cell phone not registered in MORRIS’ name and to regularly replace

the phone and erase any text conversations with STERN. MORRIS did so, but on

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occasion continued to use his personal cell phone to communicate with individuals
at the STERN law firm.

162. In or about 2016, after learning of the federal grand jury investigation
but prior to Esquivel receiving a grand jury subpoena, STERN called Esquivel and
asked Esquivel to meet him outside of STERN’s office. During the meeting,
STERN noted that federal agents had been questioning members of STERN’s staff
about Esquivel, and STERN asked Esquivel if agents had contacted him. Esquivel
confirmed that they had not. STERN asked Esquivel to destroy any records
Esquivel had related to their business transactions involving the kickback scheme.

163. In or about October of 2016, shortly after agents served a federal grand
jury subpoena on Esquivel, Esquivel called STERN and informed him that most of
the records sought by the subpoena involved STERN. STERN ordered Esquivel to
destroy all records, paper or computer, reflecting Esquivel’s referral of clients to
STERN and the kickback scheme. As ordered, Esquivel burned his records, but he
retained an electronic copy of some of his kickback ledgers.

164. In or about November of 2016, Esquivel met with STERN about the
federal grand jury subpoena. STERN confirmed that Esquivel had destroyed his
kickback and business documents. Esquivel told STERN that he would not

cooperate in the investigation, and STERN promised to take care of Esquivel’s

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family if Esquivel were convicted.

165. In or about August of 2017, STERN ordered a meeting with Attorney
1 and MORRIS at STERN’s office. At the meeting, STERN collected Attorney
1’s and MORRIS’ cell phones, and, once the phones were removed from the room,
demanded to know whether Attorney 1 was cooperating with law enforcement.
When Attorney 1 denied cooperating, STERN promised to give more money to
Attorney 1, to pay Attorney 1’s falsely inflated tax liability.

166. In or about September of 2017, STERN offered Attorney 1 concert
tickets and football tickets.

167. In or about 2017, in a conversation with MORRIS, STERN discussed
the federal criminal investigation and told MORRIS to shred records of MORRIS’
dealings with STERN. MORRIS assured Stern that he would, but MORRIS
retained some of his records.

168. On or about January 29, 2019, STERN ordered MORRIS to come to
STERN’s office immediately. When MORRIS arrived, STERN took possession
of MORRIS’ cell phone, and, once the phone was removed from the room,
demanded to know if MORRIS had been speaking to federal agents and the
substance of the conversation.

169. In or about July of 2019, STERN instructed MORRIS to come up with

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a false explanation for the checks STERN had issued in the names of Attorney 1,
Attorney 2, and Attorney 3. STERN also instructed MORRIS to try to find
compromising information on Attorney | that they could use against Attorney 1| if
he were to cooperate in the investigation.

In violation of Title 18, United States Code, Section 371.

COUNT TWO
(Willfully Filing False Tax Return —
26 U.S.C. § 7206(1))

170. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 46-116, 135, 137, 145, 157, 161-169 of the Acts in
Furtherance of the Conspiracy section of Count One as if set out fully herein.

171. On or about the date shown below, in the Houston Division of the
Southern District of Texas and elsewhere,

JEFFREY STERN,
Defendant herein, did willfully make and subscribe a U.S. Individual Income Tax
Return, IRS Form 1040, and related Schedules, for the calendar year set forth
below and filed with the Internal Revenue Service on or about the date indicated

below, which return contained and was verified by a written declaration that it was

made under the penalties of perjury, and which Defendant did not believe to be

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true and correct as to every material matter in that Defendant: (a) reported that
Other expenses, REFERRAL FEES, on Schedule C, Part V of Form 1040, was the
amount indicated below, whereas, as he then and there knew and believed, the
amount of Other expenses, REFERRAL FEES, on Schedule C, Part V of Form
1040, was substantially less; (b) reported that Other expenses, on Schedule C, Part
II, Line 27a of Form 1040, was the amount indicated below, whereas, as he then
and there knew and believed, the amount of Other expenses, on Schedule C, Part
II, Line 27a of Form 1040, was substantially less; (c) reported that Expenses,
Advertising, on Schedule C, Part II, Line 8, was the amount indicated below,
whereas, as he then and there knew and believed, the amount of Expenses,
Advertising, on Schedule C, Part II, Line 8, was substantially less; (d) reported that
Net profit, on Schedule C, Line 31, and Business income, on Form 1040, Line 12,
was the amount indicated below, whereas, as he then and there knew and believed,
the amount of Net profit, on Schedule C, Line 31, and Business income, on Form
1040, Line 12, was substantially greater; and (e) reported that Total tax, on Form
1040, Line 61, was the amount indicated below, whereas, as he then and there
knew and believed, the amount of Total tax, on Form 1040, Line 61, was

substantially greater:

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2012 June 27, 2013 | $2,333,421 $11,528,470 | $999,371 $3,212,038 | $1,192,095

 

In violation of Title 26, United States Code, Section 7206(1).
COUNTS THREE AND FOUR
(Willfully Filing False Tax Return —
26 U.S.C. § 7206(1))

172. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 46-116, 136, 139, 142, 146, 147, 155, 158, 159,
161-169 of the Acts in Furtherance of the Conspiracy section of Count One as if
set out fully herein.

173. On or about the dates shown below, in the Houston Division of the
Southern District of Texas and elsewhere,

JEFFREY STERN,

Defendant herein, did willfully make and subscribe U.S. Individual Income Tax

Returns, IRS Form 1040, and related Schedules, for the following calendar years

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set forth below and filed with the Internal Revenue Service on or about the dates
indicated below, which returns contained and were verified by a written
declaration that they were made under the penalties of perjury, and which
Defendant did not believe to be true and correct as to every material matter in that
Defendant: (a) reported that Gross receipts or sales, on Schedule C, Part I, Line 1,
was the amount indicated below, whereas, as he then and there knew and believed,
the amount of Gross receipts or sales, on Schedule C, Part I, Line 1, was
substantially more; (b) reported that Other expenses, REFERRAL FEES, on
Schedule C, Part V of Form 1040, was the amount indicated below, whereas, as he
then and there knew and believed, the amount of Other expenses, REFERRAL
FEES, on Schedule C, Part V of Form 1040, was substantially less; (c) reported
that Other expenses, on Schedule C, Part II, Line 27a of Form 1040, was the
amount indicated below, whereas, as he then and there knew and believed, the
amount of Other expenses, on Schedule C, Part I, Line 27a of Form 1040, was
substantially less; (d) reported that Net profit, on Schedule C, Line 31, and
Business income, on Form 1040, Line 12, was the amount indicated below,

_ whereas, as he then and there knew and believed, the amount of Net profit, on
Schedule C, Line 31, and Business income, on Form 1040, Line 12, was

substantially greater; and (e) reported that Total tax, on Form 1040, Line 61 for

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calendar year 2013 or Line 63 for calendar year 2014, was the amount indicated

below, whereas, as he then and there knew and believed, the amount of Total tax,

on Form 1040, Line 61 or Line 63, was substantially greater:

2013

Aug. 14, 2014

 

 

$28,040,866

$4,140,839

$14,184,817

 

$2,318,006

$163,986

 

2014

Oct. 14, 2015

$30,786,327

$4,854,433

$15,326,095

$2,375,685

$1,057,563

 

 

 

 

 

 

 

 

 

 

In violation of Title 26, United States Code, Section 7206(1).

COUNT FIVE

(Willfully Filing False Tax Return —
26 U.S.C. § 7206(1))

174. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 46-116, 149, 150, 160, 161-169 of the Acts in
Furtherance of the Conspiracy section of Count One as if set out fully herein.

175. On or about the date shown below, in the Houston Division of the
Southern District of Texas and elsewhere,

JEFFREY STERN,

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Defendant herein, did willfully make and subscribe a U.S. Individual Income Tax
Return, IRS Form 1040, and related Schedules, for the following calendar year set
forth below and filed with the Internal Revenue Service on or about the date
indicated below, which return contained and was verified by a written declaration
that it was made under the penalties of perjury, and which Defendant did not
believe to be true and correct as to every material matter in that Defendant: (a)
reported that Other expenses, REFERRAL FEES, on Schedule C, Part V of Form
1040, was the amount indicated below, whereas, as he then and there knew and
believed, the amount of Other expenses, REFERRAL FEES, on Schedule C, Part
V of Form 1040, was substantially less; (b) reported that Other expenses on
Schedule C, Part II, Line 27a of Form 1040, was the amount indicated below,
whereas, as he then and there knew and believed, the amount of Other expenses on
Schedule C, Part II, Line 27a of Form 1040, was substantially less; (c) reported
that Net profit, on Schedule C, Line 31, and Business income, on Form 1040, Line
12, was the amount indicated below, whereas, as he then and there knew and
believed, the amount of Net profit, on Schedule C, Line 31, and Business income,
on Form 1040, Line 12, was substantially greater; and (d) reported that Total tax,
on Form 1040, Line 63, was the amount indicated below, whereas, as he then and

there knew and believed, the amount of Total tax, on Form 1040, Line 63, was

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substantially greater:

 

 

 

 

 

 

 

5 2015 July 18, 2016 $4,095,877 $15,954,352 $1,138,031 $534,991

 

In violation of Title 26, United States Code, Section 7206(1).
COUNTS SIX THROUGH ELEVEN
(Aiding and Assisting in the Preparation and Presentation
of False Tax Return—
26 U.S.C. § 7206(2))

176. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 46-116, 156-169 of the Acts in Furtherance of the
Conspiracy section of Count One as if set out fully herein.

177. On or about the dates shown below, in the Houston Division of the

Southern District of Texas and elsewhere,

JEFFREY STERN and
FREDERICK MORRIS,

Defendants herein, did willfully aid and assist in, and procure, counsel, and advise,
the preparation and presentation to the Internal Revenue Service, an agency of the

United States Treasury Department, of U.S. Individual Income Tax Returns, Forms

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1040, either individual or joint, and related Schedules, prepared in the name of
Attorney 1, for the following calendar years set forth below and filed with the
Internal Revenue Service on or about the dates indicated below, and which
Defendants knew to be false and fraudulent as to the following material matters:
(a) reported that Gross receipts or sales, on Schedule C, Line 1 of Form 1040, was
the amount indicated below, whereas, as they then and there knew and believed,
the amount of Gross receipts or sales, on Schedule C, Line 1 of Form 1040, was
substantially less; (b) reported that Total expenses, on Schedule C, Line 28 of
Form 1040, was the amount indicated below, whereas, as they then and there knew
and believed, the amount of Total expenses, on Schedule C, Line 28 of Form 1040,

was substantially less:

2011 Nov. 4, 2016 $503,374 $339,310

2012 Nov. 7, 2016 $745,648 $533,097

2013 Nov. 11, 2016 $1,707,545 $1,357,471
2014 Nov. 11, 2016 $1,974,217 $1,593,445
2015 Nov. 11, 2016 $2,287,196 $1,864,379
2017 Aug. 24, 2018 $1,644,090 $1,576,859

 

In violation of Title 26, United States Code, Section 7206(2).

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COUNTS TWELVE THROUGH FIFTEEN
(Willfully Filing False Tax Return —
26 U.S.C. § 7206(1))

178. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 55, 56, 137-150, 157-160 of the Acts in Furtherance
of the Conspiracy section of Count One as if set out fully herein.

179. On or about the dates shown below, in the Houston Division of the
Southern District of Texas and elsewhere,

DEBORAH BRADLEY,
Defendant herein, did willfully make and subscribe U.S. Individual Income Tax
Returns, IRS Form 1040, and related Schedules, for the following calendar years
set forth below and filed with the Internal Revenue Service. on or about the dates
indicated below, which returns contained and were verified by a written
declaration that they were made under the penalties of perjury, and which
Defendant did not believe to be true and correct as to every material matter in that
Defendant: (a) reported that Gross receipts or sales, on Schedule C, Line 1 of Form
1040, was the amount indicated below, whereas, as she then and there knew and

believed, the amount of Gross receipts or sales, on Schedule C, Line 1 of Form

1040, was substantially less; (b) reported that Contract labor, on Schedule C, Line

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11 of Form 1040, was the amount indicated below, whereas, as she then and there
knew and believed, the amount of Contract labor, on Schedule C, Line 11 of Form

1040, was substantially less.

2012 Nov. 3, 2014 $185,227 $123,459

2013 Nov. 3, 2014 $160,890 $105,005
2014 Feb. 11, 2015 $119,919 $72,990
2015 Mar. 10, 2016 $50,262 $26,400

 

In violation of Title 26, United States Code, Section 7206(1).

COUNTS SIXTEEN THROUGH EIGHTEEN

(Willfully Filing False Tax Return —
26 U.S.C. § 7206(1))

180. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 55, 56, 137-150, 157-160 of the Acts in Furtherance
of the Conspiracy section of Count One as if set out fully herein.

181. On or about the dates shown below, in the Houston Division of the
Southern District of Texas and elsewhere,

LAMONT RATCLIFF,
Defendant herein, did willfully make and subscribe U.S. Corporation Income Tax

Returns, IRS Form 1120, and related Schedules, for the following calendar years

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set forth below and filed with the Internal Revenue Service on or about the dates
indicated below, which returns contained and were verified by a written
declaration that they were made under the penalties of perjury, and which
Defendant did not believe to be true and correct as to every material matter in that
Defendant: (a) reported that Gross receipts or sales, on Line la of Form 1120, was
the amount indicated below, whereas, as he then and there knew and believed, the
amount of Gross receipts or sales, on Line 1a of Form 1120, was substantially
more; (b) reported that Taxable income, on Line 30 of Form 1120, was the amount
indicated below, whereas, as he then and there knew and believed, the amount of
Taxable income, on Line 30 of Form 1120, was substantially more; and, (c)
reported that Total tax, on Line 31 of Form 1120, was the amount indicated below,

whereas, as he then and there knew and believed, the amount of Total tax, on Line

31 of Form 1120, was substantially more:

 

 

 

 

 

16 2012 Aug. 26, 2013 $717,801 $13,690 $2,054
17 2013 June 23, 2014 $954,769 $7,925 $1,189
18 2014 June 17, 2015 $1,004,035 $29,295 $4,394

 

 

 

 

 

 

 

In violation of Title 26, United States Code, Section 7206(1).

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COUNT NINETEEN
(Witness Tampering —
18 U.S.C. § 1512(b)(2)(B))

182. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 55, 56, 122-136, 156-158, 161-169 of the Acts in
Furtherance of the Conspiracy section of Count One as if set out fully herein.

183. In or about October of 2016, in the Houston Division of the Southern
District of Texas and elsewhere,

JEFFREY STERN,
Defendant herein, did knowingly attempt to corruptly persuade Esquivel by
meetings and demands with the intent to cause and induce Esquivel to destroy
and conceal an object, Marcus Esquivel’s kickback ledgers, with the intent to
impair the object’s integrity and availability for use in an official proceeding,
a federal grand jury investigation in the Southern District of Texas.

In violation of 18 United States Code, Sections 1512(b)(2)(B) and 2.
COUNT TWENTY
(Witness Tampering —
18 U.S.C. § 1512(b)(2)(B))

184. The Grand Jury adopts, realleges, and incorporates herein the

Introduction section of the Superseding Indictment, the Manner and Means section

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of Count One, and paragraphs 46-121, 156-169 of the Acts in Furtherance of the
Conspiracy section of Count One as if set out fully herein.
185. In or about 2016 in the Houston Division of the Southern District of
Texas and elsewhere,
JEFFREY STERN,
Defendant herein, did knowingly attempt to corruptly persuade MORRIS by
meetings and demands with the intent to cause and induce MORRIS to destroy
and conceal an object, a copy of STERN’s case and kickback ledger
maintained by MORRIS, with the intent to impair the object’s integrity and
availability for use in an official proceeding, a federal grand jury investigation
in the Southern District of Texas.
In violation of 18 United States Code, Sections 1512(b)(2)(B) and 2.
COUNT TWENTY-ONE
(Obstruction of Justice —

18 U.S.C. § 1503)

186. The Grand Jury adopts, realleges, and incorporates herein the
Introduction section of the Superseding Indictment, the Manner and Means section
of Count One, and paragraphs 46-136, 156-169 of the Acts in Furtherance of the
Conspiracy section of Count One as if set out fully herein.

187. From in or about 2016 through the date of the Superseding Indictment,

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in the Southern District of Texas and elsewhere within the jurisdiction of the Court,

JEFFREY STERN,

defendant herein, did corruptly endeavor to influence, obstruct and impede the due
administration of justice in a federal grand jury investigation by the grand jury
impaneled in the Houston Division of the Southern District of Texas (the
“investigation”) by holding meetings with Esquivel, Attorney 1, and MORRIS to
pressure them not to cooperate in the investigation, and, in the process, offering
things of value to Attorney 1 and Esquivel: among other items, giving Attorney 1
money to make payments on Attorney 1’s taxes, and causing a fraudulent Offer in
Compromise to be filed for Attorney 1 to lessen his tax burden.

In violation of Title 18, United States Code, Sections 1503 and 2.

A TRUE BILL:

Original Signature on File

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FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK

UNITED STATES ATTORNE
By: LEA

Robert S. Johnson
Assistant United States Attorney

 

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